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                     EXHIBIT 31
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                                                  FEDERAL BUREAU OF INVESTIGATION


                                                                                                                            Date of entry       07/09/2018


                RAMESH VADIVELU (RV), was interviewed at the Four Seasons Hotel
            located at 190 Orchard Blvd, Singapore. Trial Attorney Kevin Gingras,
            Department of Justice, Fraud Section (DOJ), AUSA Courtney Howard, United
            States Attorney's Office, District of New Jersey, and FBI Special Agent
            (SA) Kelly Blanchfield participated in the interview. BS was represented
            by legal counsel William Stellmach, Zachary Cobb, and John Joy from
            Willkie Far & Gallagher.

               Prior to the interview commencing, RV reviewed and signed a proffer
            agreement with the DOJ. RV was told to be truthful as to whatever he can
            remember. RV was advised that at any point, he can discuss with his legal
            counsel or take breaks as needed. After being advised of the identity of
            the interviewing agent, DOJ, and AUSA, and the nature of the interview, RV
            provided the following information:

               RV went to college for civil engineering and joined L&T after
            graduation from college. RV held the following positions at L&T:
            -Trainee
            -Junior Engineer
            -Engineer
            -Manager
            -General Manager

               In 2006, RV transitioned as the Department Head for the Commercial
            Buildings Department. RV's responsibilities included obtaining the
            proposal requests for various clients, supported tenders, and supported
            proposals for various projects. RV ensured that the proposals were in line
            with company policy. The costing engineers were responsible for the direct
            costing, indirect costing, and additional mark ups.

               L&T utilized two different types of contracts:
                     -Item Read contracts: L&T was not responsible for the design of
            the facility.
                     -Design Build contract: L&T presented 2-3 proposals to the client
            for the design of the facility. The client picked one design and L&T would
            built the facility. L&T provided a lump sum contract amount to COGNIZANT
            for the entire project. The majority of the contracts with COGNIZANT were




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   File #                                                                                                                   Date drafted     06/28/2018

   by   BLANCHFIELD KELLY SUSAN
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          design build contracts. RV worked on 8-9 contracts for COGNIZANT over 10-
          11 years. The KITS facility was a lump sum amount that was agreed upon at
          the time of the contract. The site manager worked in conjunction with
          COGNIZANT on milestone payments.

             L&T did not expect variations in the project at the time that the lump
          sum price was provided to the client. Variations are generated during the
          course of the project due to changes, delays, etc. L&T tracked the
          variations throughout the construction process and then propose the
          variation amounts to the client for reimbursement. L&T requested
          reimbursement for extended stay expenses if the project was delayed.

             There were variations in the majority of COGNIZANT projects. RV did not
          recall a COGNIZANT contract that did not have variations. RV got involved
          with the variation process in the final stages. RV gave direction to the
          team on site to inflate the variation amounts in preparation for
          negotiations with the client.

             RV was unsure if there was a fixed amount that was built into the
          contracts for variations.

          STATUTORY APPROVALS

             As a business practice, L&T did not get statutory approvals for other
          clients except COGNIZANT. L&T assisted COGNIZANT with statutory approvals
          since COGNIZANT was a long term customer and it was included in the
          contract. L&T did not want to be involved in the statutory approval
          process since it was difficult to commit to statutory approval timelines.
          L&T's real estate division had more expertise than COGNIZANT in the
          statutory approval process.

          {Agent Note: RV was shown document DOJ_RV000002 through DOJ_RN000005 which
          was an e-mail correspondence dated May 14, 2012 through June 18, 2012 with
          the subject of "RE; COGNIZANT Siruseri - Certification Fee to IGBC")

             IGBC was the government agency that provided the green building
          certificate. COGNIZANT said that the green building certificate was
          included in the lump sum price in the contract with L&T.

             DD was a demand draft or a commitment from the bank. The green building
          certificate was not a mandatory certificate.




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           {Agent Note: RV was shown document DOJ_RV000251 through DOJ_RN000252 which
           was an e-mail correspondence dated March 21, 2013 through July 8, 2013
           with the subject of "RE: Revised Offer for COGNIZANT Adibatla Hyderabad
           01.04.2013 L&T"}

              Adibatla is located in Hyderabad. RV requested 50 lakhs for statutory
           approvals. The amount was for a professional consultant firm and the
           engagement with different government agencies. L&T did not have the local
           knowledge of the rules and regulations of Hyderabad. L&T hired an expert
           for Hyderabad. The amount was a "rule of thumb" number based on the size
           of the project and the cost of experts.

              The site operational team handled the reimbursement and the consultant
           forms. RV did not work on the operational team.

           {Agent Note: RV was shown document DOJ_RV000011, which was an e-mail
           correspondence dated December 3, 2013 with the subject of "KITS- MOM for
           the statutory meeting held on 27th Nov 13"}

                 MOM was the minutes of the meeting.

              RV's responsibility was to get the tentative cost for the planning
           permit in the budget to be approved. RV was unaware if L&T paid a scrutiny
           fee. L&T interfaced with the government agencies to finalize the amount
           that the planning permit would cost. L&T was the "middle man" between the
           government agencies and COGNIZANT.

                 RV has one e-mail address with L&T.

              RV did not have expertise knowledge on the process for obtaining
           planning permits. The planning permit process can be extensive based on
           information that RV pulled from the government agencies' websites. RV was
           unsure how long it took for companies to obtain a government order from
           the government agencies.

              There was a significant delay in the planning permit for the KITS
           project. COGNIZANT was unable to get the correct land paperwork from the
           land survey for the facility. L&T could not submit the paperwork for the
           planning permit without the proper land paperwork. It took COGNIZANT
           almost a year to obtain the correct land paperwork. On December 3, 2013,
           the land deed issue was resolved at KITS. COGNIZANT pressured L&T to
           expedite the planning permit. L&T committed dates to COGNIZANT to obtain
           the planning permit. L&T told COGNIZANT that they would get the planning
           permit.

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          {Agent Note: RV was shown document DOJ_RV000204 through DOJ_RV000219,
          which was an e-mail correspondence dated April 22, 2013 through December
          3, 2013 with the subject of "RE: KITS - Update Required- Urgent"}

             The content of the e-mail was the timing of the planning permit for
          KITS. The planning permit for KITS was with Chief Ministry for about a
          month prior to getting approval.

          {Agent Note: RV was shown document DOJ_RV000013 through DOJ_RV000014,
          which was an e-mail correspondence dated January 20, 2014 with the subject
          of "Re: Discussions we had last Fri in connection with KITS approval"}

             The senior leadership meeting with the Chief Ministry. RV recalled the
          conversation that was referenced in the e-mail correspondence. L&T's
          management agreed to tell COGNIZANT to speak to the CM about expediting
          the planning permit. RV did not recall the individuals in L&T's management
          that made the decision for COGNIZANT to meet with the CM.

             RV conveyed the message to COGNIZANT about the meeting request with the
          CM. RV did not recall whether it was communicated via telephone or e-mail.
          The CM did not request a meeting with COGNIZANT. It was L&T's idea for
          COGNIZANT to meet with the CM.

               RV forwarded the e-mail to SNS to keep him "in the loop".

             L&T's role with the planning permit was coordination with the client
          and the government agencies. L&T did not take responsibility for acquiring
          the permits.

          {Agent Note: RV was shown document DOJ_RV000015 through DOJ_RV000017,
          which was an e-mail correspondence dated January 20, 2014 with the subject
          of "CTS - 20-1-14"}

             The attachment was the final draft. The attachment was drafted due to a
          "push and pull" from L&T and COGNIZANT about the planning permit.

             R. CHANDRASEKARAN was the Executive Vice Chairman in India. RV believed
          that NAKKIRAN drafted the attachment.

             RV did not recall if the letter was sent to COGNIZANT. RV did not
          recall providing any feedback with the letter.

             RV did not have any concerns with a meeting between COGNIZANT and the
          CM. RV did not have personal knowledge that the CM was corrupt.


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              After the letter was drafted, RV did not have any further conversations
           with COGNIZANT about a meeting with the CM.

           {Agent Note: RV was shown document DOJ_RV000272 through DOJ_RV000278,
           which was an e-mail correspondence dated December 3, 2013 through February
           25, 2014 with the subject of "RE: KITS - MOM for the statutory meeting
           Held on 27th Nov 13")

              The scrutiny fee was the statutory fee. RV did not recall the meeting
           with the CM being discussed in the statutory meeting. RV was "not
           surprised" that there were meetings held with the Ministries.

              The government order was released for developmental charges, which was
           not for the planning permit. In order to obtain a planning permit an
           application was submitted to the government agencies and a scrutiny fee
           was applied for the permit. There are also additional charges for
           development changes.

              The government order for the development charges was different than the
           government order that was issued for the planning permit. Throughout the
           cycle of a project there are multiple government orders that are obtained.

              RV did not recall a meeting with the CM for the planning permit or the
           road incident. In February 2014, RV requested assistance from his
           supervisors for help from the legal department regarding the planning
           permit. It was not common practice for L&T to write contractual letters to
           clients.

           {Agent Note: RV was shown document DOJ_RV000018 through DOJ_RV000020,
           which was an e-mail correspondence dated March 6, 2014 with the subject of
           "RE: CTS-Contract"

              RV did not know what "OC" stood for in the e-mail correspondence. K.
           JAGANNATHAN was L&T's Head of Legal. COGNIZANT needed to pay; however, RV
           was unsure about what they needed to pay.COGNIZANT should not have blamed
           L&T for the planning permit delay.

              An L&T employee in the legal department drafted the attachment to the e-
           mail. The goal of the attachment was to bring the issues between COGNIZANT
           and L&T back to the contract that was signed between them.

              COPA was the Conditions of Particular Applications, which was part of
           the contractual agreement. RV was unsure about the fee that was described
           in the letter. RV believed that L&T paid smaller statutory payments on
           behalf of COGNIZANT and requested reimbursement from COGNIZANT. The

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          scrutiny fee was already paid prior to the e-mail correspondence. RV
          believed that the fee amounts discussed in the e-mail were developmental
          charges even though the government order was not issued yet. RV was not
          aware of any other fees for the planning permit besides the scrutiny fee
          and the developmental charges.

             There was an outstanding payment that L&T was saying that COGNIZANT was
          responsible for. The application was at the Urban Developmental Ministry.
          L&T's legal department told COGNIZANT that L&T did not have to
          contractually make the payment.

          {Agent Note: RV was shown document DOJ_RV000131 through DOJ_RV000132,
          which was an e-mail correspondence dated March 12, 2014 with the subject
          of "Re: Meeting"}

             RV was unsure if the draft letter was sent. L&T's legal department
          discussed with RV about wanting to meet with COGNIZANT's legal team to
          discuss the items in the letter.

          {Agent Note: RV was shown document DOJ_RV000281 which was a meeting invite
          dated March 13, 2014}

             RV did not recall the specific conversation of the meeting; however, RV
          remembered that there was no discussion about payments. The result of the
          meeting was a continued standstill between L&T and COGNIZANT.

             RV attended some of the MRM meetings. RV did not recall lunch at a Thai
          restaurant with COGNIZANT employees after a MRM meeting.

          {Agent Note: RV was shown document DOJ_RV000041, which was an e-mail
          correspondence dated April 21, 2014}

               RV did not recall the details of the meeting with SNS.

          {Agent Note: RV was shown document DOJ_RV000142, which was an e-mail
          correspondence dated May 17, 2014 with the subject of "RE: COGNIZANT KITS
          Sholinganallur- Invoice/Fund Allocation- Reg"}

             LAKSHMANAN ATHAPPAN was the project manager. "RAB" was the running
          account bills for each project. The planning permit was with the Urban
          Development Ministry and was waiting for the government order. L&T
          Headquarters did not release payments to the project site in order to pay
          vendors and subcontractors. RV requested in writing for the release of
          funds.

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              L&T was coordinating with the government agencies for the planning
           permit. RV gave a time commitment for the planning permit in order for
           COGNIZANT to unfreeze the payments. There was nothing that L&T could do to
           expedite the planning permit. The e-mail was not a change in L&T's stance
           in regards to the planning permit. The commitment dates were not a real
           commitment; however, COGNIZANT thought the date commitment was real.

              RV did not recall a conversation with MANI about L&T trying to get the
           planning permit.

           {Agent Note: RV was shown document DOJ_RV000138 through DOJ_RV000141,
           which was an e-mail correspondence dated June 30, 2014 with the subject of
           "KITS-Planning permit"}

              There was a building collapse where 50 people died. As a result, L&T
           did not want anyone to know that L&T obtained the government order. The
           accident occurred a couple days before June 30, 2014. As a result of the
           accident, the government was going to "go after" the company that obtained
           the planning permit for the building that collapsed. COGNIZANT was
           "desperate and afraid" that the government agency was going to seize all
           construction contracts that started construction prior to obtaining the
           permits. L&T went to the government offices to follow up on the permit.
           COGNIZANT did not interact with the government officials. L&T obtained the
           planning permit and the official copy was sent to COGNIZANT three to four
           days later.

              RV made a representation to COGNIZANT about obtaining the planning
           permit in order to receive a $100K payment from COGNIZANT for the project.

           {Agent Note: RV was shown document DOJ_RV000027 through DOJ_RV000028,
           which was an e-mail correspondence dated June 30, 2014 with the subject of
           ""RE: KITS - Planning Permit"}

                 The process for getting the planning permit was taking a long time.

           {Agent Note: RV was shown document DOJ_RV000289, which was an e-mail
           correspondence dated July 17, 2014 through July 19, 2014 with the subject
           of "FW: KOCHI"}

              The e-mail correspondence was an acknowledgment that L&T got the
           planning permit.




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          {Agent Note: RV was shown document DOJ_RV000029 through DOJ_RV000031,
          which was an e-mail correspondence dated July 23, 2014 through October 6,
          2016 with the subject of "RE: Outstanding Payments- CTS payments"}

             COGNIZANT withheld the payments because they wanted L&T to get the
          planning permit. L&T received the planning permit in June 2014. COGNIZANT
          kept a freeze on the payments until the permit was received.

             RV forward the e-mail in 2016 as a result of a media article about
          problems at COGNIZANT. RV was not aware of the actual problem with
          COGNIZANT; however, L&T's legal team advised L&T employees to print out
          all records associated with COGNIZANT.

          {Agent Note: RV was shown document DOJ_RV000037, which was an e-mail
          correspondence dated October 23, 2016 with the subject of "FW: COGNIZANT
          KITS Sholinganallur- Variation List"

             RV received a list of variations from the team on site. The e-mail was
          forwarded years later in conjunction with the advice from the L&T legal
          team.

          {Agent Note: RV was shown document DOJ_RV000128}

             The document was approximately six weeks after the government order was
          issued. NAGA SUBRAMANIAN (NAGA) coordinated with the design department,
          L&T, and COGNIZANT. NAGA was an L&T employee and interfaced with the
          government offices.

               RV was not an expert on the developmental charges.

          {Agent Note: RV was shown document DOJ_RV000032 through DOJ_RV000033,
          which was an e-mail correspondence dated November 4, 2014 with the subject
          of "FW: KITS- Planning Permit"

             The Mugalivakkam incident was the building collapse that happened on
          June 28, 2014. RV was unaware of constraints with the government agencies.
          RV was told by a contact in the government office that the planning permit
          for KITS was the first to be approved since the Mugalivakkam incident.

          {Agent Note: RV was shown document DOJ_RV000129 through DOJ_RV000130,
          which was an e-mail correspondence dated November 4, 2014 with the subject
          of "RE: KITS- Planning Permit"}


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              COGNIZANT was appreciative that the planning permit was approved for
           KITS. Everyday L&T followed up with the government offices for the
           planning permit for KITS. L&T went to the several government agencies,
           provided feedback to the design teams, submitted the requested
           documentation to the government agencies, etc.

           {Agent Note: RV was shown document DOJ_RV000142, which was an e-mail
           correspondence dated May 17, 2014 with the subject of "COGNIZANT KITS
           Sholinganallur- Invoice/Fund Allocation- Reg"}

              The e-mail was a reaction to COGNIZANT freezing payments to L&T. It was
           a coincidence that the government order was issued a month after the false
           promises to COGNIZANT.

           {Agent Note: RV was shown document DOJ_RV00076 through DOJ_RV000127, which
           was an e-mail correspondence dated November 12, 2014 with the subject of
           "KITS COGNIZANT Campus- Variation Document"}

              The variation document was dated November 12, 2014. RV increased the
           variation amount three times because of hard negotiations with COGNIZANT.
           The variation amount was very large.

              The breakdown of campus regularization was due to the delay at the KITS
           facility. L&T lost labor wages and other expenses due to the delay.

              The statutory approval line item was a fixed lump sum price and L&T was
           unable to recover the price elsewhere. COGNIZANT would not approve
           reimbursement for "extended stay expenses". The amount wasn't for
           statutory approvals. COGNIZANT did not review the variations on a line by
           line basis. COGNIZANT's top management reviewed the total number for the
           reimbursement of variations to L&T. COGNIZANT did not look at line items
           for any project with L&T.

           {Agent Note: RV was shown document DOJ_RV000133 through DOJ_RV000135,
           which was an e-mail correspondence dated November 21, 2014 with the
           subject of "RE: SNS Meeting with Sridhar"}

              RV did not recall the meeting. The e-mail seemed like a "courtesy
           meeting".

           {Agent Note: RV was shown document DOJ_RV000039 through DOJ_RV000040,
           which was an e-mail correspondence dated February 21, 2015 with the
           subject of "RE: Variation Items"}


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             ATR was the Tender Manager at L&T. RV did not care the classification
          of the line item, as long as, L&T was reimbursed. There was no statutory
          approval expense of 22cr. The 22cr was for extended stay expenses.

             The statutory approval line item represented approximately 1/3 of the
          total amount to be recovered. RV was unsure about the reasons for the
          reclassification of the amount to other line items. L&T received a
          telephone call from COGNIZANT to remove the statutory approval line item.
          The statutory approval line item did not represent a payment that was made
          for statutory approvals.

          {Agent Note: RV was shown document DOJ_RV000327 through DOJ_RV000330,
          which was an e-mail correspondence dated April 16, 2015 through June 2,
          2015 with the subject of "RE: COGNIZANT KITS & Hyderabad Campus"}

             The challenges in obtaining the permits was a delay with the government
          agencies. L&T took responsibility with the coordination with the
          government agencies for the permits.

             The e-mail correspondence was a result of the Hyderabad project. L&T
          submitted a bid for the Hyderabad project. MANI told RV that the bid that
          was submitted by L&T was significantly higher than the lowest bid that
          COGNIZANT received. RV offered COGNIZANT a lower price for the contract.

          {Agent Note: RV was shown document DOJ_RV000337 through DOJ_RV000338,
          which was an e-mail correspondence dated March 1, 2016 through March 2,
          2016 with the subject of "RE: TNEB - 10.6 MVA 110 KV power line"}

             COGNIZANT requested a breakout of the total amount of incidental
          expenses that were listed in the attachment.




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